                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             Docket No. 3:11-CR-373-FDW

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
vs.                                 )                         NOTICE AND ORDER
                                    )
KAMAL ZAKI QAZAH,                   )
                                    )
                        Defendant. )
___________________________________ )
WAEL AUDI                           )
                        Petitioner  )
___________________________________ )

       THIS MATTER is before the Court sua sponte following the filing of the Government’s

Motion to Dismiss on October 29, 2013 (Doc. No. 385).

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the Court advises

Petitioner, who is proceeding pro se, that he has a right to respond to the Government’s Motion

to Dismiss Petitioner’s for failure to comply with the requirements of 21 U.S.C § 853(n)(3). The

Government alleges that Petitioner’s Claim fails to comply with § 853(n)(3) because: (1)

Petitioner failed to sign the Claim under penalty of perjury, and (2) Petitioner failed to “set forth

the nature and extent of the petitioner’s right, title, or interest in the property [and] the time and

circumstances of the petitioner’s acquisition of the right, title or interest in the property . . . ”

Petitioner is also advised that he has until Friday, November 8, 2013 to file his response to the

Government’s Motion. The Court further advises Petitioner that failure to timely respond

may result in the Government being granted the relief it seeks, specifically DISMISSAL OF

THE CLAIM.

       IT IS THEREFORE ORDERED that Petitioner may respond to the Government’s




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Motion to Dismiss (Doc. No. 385) on or before November 8, 2013. Failure to file a timely and

persuasive response to the Government’s Motion may lead to the dismissal of Petitioner’s Claim.

The Clerk’s Office is DIRECTED to send a copy of this Notice and Order to Petitioner’s address

of record.


       IT IS SO ORDERED.



                                            Signed: October 30, 2013




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